     Case 1:17-mc-00067-DAD-SAB Document 97 Filed 06/28/24 Page 1 of 4


1    HEATHER E. WILLIAMS, CA Bar #122664
     Federal Defender
2    REED GRANTHAM
     Assistant Federal Defender
3    Office of the Federal Defender
     2300 Tulare Street, Suite 330
4    Fresno, CA 93721
     Telephone: (559) 487-5561
5    Fax: (559) 487-5950

6    Attorneys for Relator
     VLADIMIR BLASKO
7
8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    IN THE MATTER OF THE                        Case No. 1:17-mc-00067-DAD-BAM
      EXTRADITION OF VLADIMIR
12    BLASKO TO THE SLOVAK                        RENEWED APPLICATION FOR ORDER
      REPUBLIC                                    EXONERATING CASH AND PROPERTY
13                                                BONDS, RECONVEYANCE OF PROPERTY,
                                                  AND RETURN OF PASSPORT; ORDER
14
15
16
17
            Relator Vladimir Blasko hereby files a renewed application under Federal Rule of
18
     Criminal Procedure 46(g) for exoneration of the $40,000.00 cash bond posted on February 21,
19
     2019, and exoneration and reconveyance of the Deed of Trust currently on file with the Fresno
20
     County Recorder as Deed #2023-0012566 and original straight note posted on February 23,
21
     2023. Additionally, Mr. Blasko moves the Court for the return of his passport surrendered on
22
     August 6, 2018.
23
            On August 6, 2018, a hearing was held in this matter. See Dkt. #49. At the hearing, Mr.
24
     Blasko was ordered released from custody under the supervision of a third-party custodian on
25
     terms and conditions that included surrendering his passport and a $10,000.00 unsecured cash
26
     bond. See Dkt. #45-48. Mr. Blasko surrendered his passport on August 6, 2018. See Dkt. #46.
27
      08/06/2018       46 COLLATERAL RECEIVED as to Vladimir Blasko: Slovak Republic
28                        Passport No. BR5735134 for Vladimir Blasko. (Gonzalez, R) (Entered:
                          08/06/2018)
     Case 1:17-mc-00067-DAD-SAB Document 97 Filed 06/28/24 Page 2 of 4


1
2           On February 8, 2019, the court ordered an increase of the bond to include a $40,000.00
3    cash bond and a property bond of $150,000.00. See Dkt. #70. The cash bond was posted on
4    February 21, 2019. See Dkt. #72.
5
      02/21/2019     72 CASH BOND POSTED as to Vladimir Blasko in the amount of
6                       $40,000.00, Receipt #CAE100041755. (Martin-Gill, S) (Entered:
                        02/21/2019)
7
8    The property bond was posted by Jeffrey C. Kollenkark and Melissa A. Kollenkark. See Dkt.
9    #73.
10
       02/21/2019      73   COPY OF DEED OF TRUST #2019-0015708 and Original Straight
11                          Note RECEIVED, posted by Jeffrey C. Kollenkark and Melissa A.
                            Kollenkark as to Vladimir Blasko. (Sant Agata, S) (Entered:
12                          02/22/2019)

13          On February 7, 2023, the parties filed a stipulation to modify the property bond by
14   removing the property bond posted by Mr. and Mrs. Kollenkark, and replacing it with a property
15   bond secured by a property owned by Vladimir Blasko and his wife, Martina Gregusova. See Dkt
16   #77. This Court signed the order effectuating this change on February 8, 2023. See Dkt. #78. On
17   February 23, 2023, the property bond secured by the property owned by Mr. Blasko and his wife,
18   was received by the Court. See Dkt. #80.
19
       02/23/2023      80   COLLATERAL RECEIVED as to Vladimir Blasko: ORIGINAL Deed
20                          of Trust posted by Martina Gregusova and Vladimir Blasko #2023-
                            0012566. (Maldonado, C) (Entered: 02/23/2023)
21
22   Thereafter, on February 28, 2023, the property bond posted by Mr. and Mrs. Kollenkark
23   was exonerated and reconveyed to the Kollenkarks. See Dkt. #84.
24          Mr. Blasko surrendered into custody, pursuant to an order of the Court, on April 26,
25   2024. See Dkt. #39 in Case No. 1:18-cv-01649-DAD-SAB. On June 20, 2024, Mr. Blasko was
26   extradited to Slovakia. See Dkt. #95. As set forth in the Declaration filed by government counsel
27   under penalty of perjury on June 25, 2024:
28                  On June 21, 2024, the U.S. Department of Justice, Office of
                    International Affairs informed me that Blasko had been successfully
                    surrendered to representatives of the Slovak Republic. According to
                                                     2
     Case 1:17-mc-00067-DAD-SAB Document 97 Filed 06/28/24 Page 3 of 4


1                   information provided by the U.S. Marshals Service, Blasko and his
                    Slovakian escort team departed the Los Angeles International
2                   Airport, bound for Slovakia, at approximately 3:20 PST on June 20,
                    2024. There were no issues with his surrender.
3
     Dkt. #95.
4
            Since this matter has now concluded, Mr. Blasko requests that the Court exonerate the
5
     $40,000.00 cash bond and exonerate and reconvey the property bond secured by the $150,000.00
6
     Deed of Trust currently on file with the Fresno County Recorder (#2023-0012566) and the
7
     correlating straight note. Additionally, Mr. Blasko requests that the Court release his passport to
8
     his wife, Martina Gregusova, all pursuant to Rule 46(g) of the Federal Rules of Criminal
9
     Procedure.
10
            The government has no objection to this application. Accordingly, since no conditions
11
     remain to be satisfied and exoneration, reconveyance, and return of the passport is in the interest
12
     of justice, it is requested that the Court exonerate the bonds, reconvey the subject original deed,
13
     and return Mr. Blasko’s passport.
14
15
     Dated: June 25, 2024                          Respectfully submitted,
16
                                                   HEATHER E. WILLIAMS
17                                                 Federal Defender
18
                                                   /s/ Reed Grantham
19                                                 REED GRANTHAM
                                                   Assistant Federal Defender
20                                                 Attorney for Relator
                                                   VLADIMIR BLASKO
21
22
23
24
25
26
27
28



                                                      3
     Case 1:17-mc-00067-DAD-SAB Document 97 Filed 06/28/24 Page 4 of 4


1                                               ORDER

2           IT IS HEREBY ORDERED that the Clerk of the Court exonerate the $40,000.00 cash

3    bond (Doc. 72) and exonerate and reconvey the property bond secured by the $150,000.00 Deed

4    of Trust currently on file with the Fresno County Recorder (#2023-0012566) and the original

5    straight note to Martina Gregusova. It is further ordered that the passport of Vladimir Blasko be

6    released to Martina Gregusova.

7
     IT IS SO ORDERED.
8
9       Dated:     June 26, 2024                              /s/ Barbara A. McAuliffe             _
                                                       UNITED STATES MAGISTRATE JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
